Filed 04/01/24                                                        Case 24-21326                                                                       Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                     Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                The Roman Catholic Bishop of Sacramento

  2.   All other names debtor
       used in the last 8 years
       Include any assumed          Diocese of Sacramento
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                  business

                                    2110 Broadway
                                    Sacramento, CA 95818
                                    Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                    Sacramento                                                    Location of principal assets, if different from principal
                                    County                                                        place of business

                                                                                                  Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)       www.scd.org


  6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
Filed 04/01/24                                                           Case 24-21326                                                                          Doc 1
  Debtor    The Roman Catholic Bishop of Sacramento                                                  Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above
                                         B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  8131

  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
       debtor filing?
                                          Chapter 7
       A debtor who is a “small           Chapter 9
       business debtor” must check        Chapter 11. Check all that apply:
       the first sub-box. A debtor as
       defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
       elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
       subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
       (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
       “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       check the second sub-box.
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12
  9.   Were prior bankruptcy
       cases filed by or against
                                          No.
       the debtor within the last 8       Yes.
       years?
       If more than 2 cases, attach a
       separate list.                              District                               When                                Case number
                                                   District                               When                                Case number




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Filed 04/01/24                                                                  Case 24-21326                                                                             Doc 1
  Debtor    The Roman Catholic Bishop of Sacramento                                                       Case number (if known)
            Name

  10. Are any bankruptcy cases
      pending or being filed by a
                                              No
      business partner or an                  Yes.
      affiliate of the debtor?




       List all cases. If more than 1,
       attach a separate list                         Debtor                                                                   Relationship
                                                      District                                When                             Case number, if known


  11. Why is the case filed in           Check all that apply:
      this district?
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                               A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or
      have possession of any
                                          No
      real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property that needs
      immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency
                                                                 Contact name
                                                                 Phone



            Statistical and administrative information

  13. Debtor's estimation of             .       Check one:
      available funds
                                                  Funds will be available for distribution to unsecured creditors.
                                                  After any administrative expenses are paid, no funds will be available to unsecured creditors.

  14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
      creditors                           50-99                                          5001-10,000                               50,001-100,000
                                          100-199                                        10,001-25,000                             More than100,000
                                          200-999

  15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                          $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                          $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                          $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

  16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

  Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
Filed 04/01/24                                              Case 24-21326                                                                        Doc 1
  Debtor   The Roman Catholic Bishop of Sacramento                                    Case number (if known)
           Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




  Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
Filed 04/01/24                                                         Case 24-21326                                                                             Doc 1
  Debtor    The Roman Catholic Bishop of Sacramento                                                  Case number (if known)
            Name



            Request for Relief, Declaration, and Signatures

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

  17. Declaration and signature
      of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on        04/01/2024
                                                    MM / DD / YYYY


                               X      /s/ Jaime Soto                                                        Most Reverend Jaime Soto
                                   Signature of authorized representative of debtor                         Printed name

                                   Title   Bishop




                               X      /s/ Paul J. Pascuzzi                                                   Date
                                                                                                                       04/01/2024
  18. Signature of attorney
                                   Signature of attorney for debtor                                                 MM / DD / YYYY

                                   Paul J Pascuzzi
                                   Printed name

                                   Felderstein Fitzgerald Willoughby Pascuzzi & Rios LLP
                                   Firm name

                                   500 Capitol Mall
                                   Suite 2250
                                   Sacramento, CA 95814
                                   Number, Street, City, State & ZIP Code


                                   Contact phone     (916) 329-7400                Email address      ppascuzzi@ffwplaw.com

                                   148810 CA
                                   Bar number and State




  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Filed 04/01/24   Case 24-21326   Doc 1
Filed 04/01/24   Case 24-21326   Doc 1
Filed 04/01/24                                                          Case 24-21326                                                                                      Doc 1


  Fill in this information to identify the case:
  Debtor name The Roman Catholic Bishop of Sacramento United States
  Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA                                                                                  Check if this is an

  Case number (if known):                                                                                                                   amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
  Are Not Insiders                                                                           12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

  Name of creditor and complete mailing        Name, telephone number and email          Nature of       Indicate if claim   Amount of claim
  address, including zip code                  address of creditor contact               claim            is contingent,     If the claim is fully unsecured, fill in only
                                                                                         (for example,   unliquidated, or    unsecured claim amount. If claim is partially
                                                                                         trade debts,        disputed        secured, fill in total claim amount and
                                                                                         bank loans,                         deduction for value of collateral or setoff to
                                                                                         professional                        calculate unsecured claim.
                                                                                         services, and                       Total claim, Deduction for             Unsecured
                                                                                         government                          if partially     value of              claim
                                                                                         contracts)                          secured          collateral or
                                                                                                                                              setoff
  JCCP 5108 Plf. #75B                          Joseph George, Jr., Esq.
  John Doe 1
  c/o Joseph George, Jr. Law Corporation       jgeorgejr@psyclaw.com                                        Contingent
                                                                                             Tort
  601 University Ave                                                                                       Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 270                                    (916) 641-7303                                                Disputed
  Sacramento, CA 95825
  JCCP 5108 Plf. #1020                         Joseph George, Jr. Esq.
  Joseph Doe S 501
  c/o Joseph George, Jr. Law Corporation       jgeorgejr@psyclaw.com                                        Contingent
                                                                                             Tort
  601 University Ave                                                                                       Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 270                                    (916) 641-7303                                                Disputed
  Sacramento, CA 95825
  JCCP 5108 Plf. #1034                         Joseph George, Jr., Esq.
  Joseph Doe S 513
  c/o Joseph George, Jr. Law Corporation       jgeorgejr@psyclaw.com                                        Contingent
                                                                                             Tort
  601 University Ave                                                                                       Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 270                                    (916) 641-7303                                                Disputed
  Sacramento, CA 95825
  JCCP 5108 Plf. #1038                         Joseph George, Jr., Esq.
  Joseph Doe S 517
  c/o Joseph George, Jr. Law Corporation       jgeorgejr@psyclaw.com                                        Contingent
                                                                                             Tort
  601 University Ave                                                                                       Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 270                                    (916) 641-7303                                                Disputed
  Sacramento, CA 95825
  JCCP 5108 Plf. #1040                         Joseph George, Jr., Esq.
  Joseph Doe S 518
  c/o Joseph George, Jr. Law Corporation       jgeorgejr@psyclaw.com                                        Contingent
                                                                                             Tort
  601 University Ave                                                                                       Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 270                                    (916) 641-7303                                                Disputed
  Sacramento, CA 95825

  JCCP 5108 Plf. #1049                         Joseph George, Jr., Esq.
  Jennifer Doe S 525
  c/o Joseph George, Jr. Law Corporation       jgeorgejr@psyclaw.com                                        Contingent
                                                                                             Tort
  601 University Ave                                                                                       Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 270                                    (916) 641-7303                                                Disputed
  Sacramento, CA 95825

  Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 1
Filed 04/01/24                                                          Case 24-21326                                                                                      Doc 1



  Debtor     The Roman Catholic Bishop of Sacramento                                                  Case number (if known)
             Name

  Name of creditor and complete mailing        Name, telephone number and email          Nature of       Indicate if claim   Amount of claim
  address, including zip code                  address of creditor contact               claim            is contingent,     If the claim is fully unsecured, fill in only
                                                                                         (for example,   unliquidated, or    unsecured claim amount. If claim is partially
                                                                                         trade debts,        disputed        secured, fill in total claim amount and
                                                                                         bank loans,                         deduction for value of collateral or setoff to
                                                                                         professional                        calculate unsecured claim.
                                                                                         services, and                       Total claim, Deduction for             Unsecured
                                                                                         government                          if partially     value of              claim
                                                                                         contracts)                          secured          collateral or
                                                                                                                                              setoff
  JCCP 5108 Plf. #1159                         Michael Reck, Esq.
  John Doe SAC 1127
  c/o Jeff Anderson & Associates, PA           mreck@andersonadvocates.com                                  Contingent
                                                                                             Tort
  12011 San Vincente Boulevard                                                                             Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 700                                    (310) 357-2425                                                Disputed
  Los Angeles, CA 90049

  JCCP 5108 Plf. #1209                         Michael Reck, Esq.
  Jane Doe SAC 2056
  c/o Jeff Anderson & Associates, PA           mreck@andersonadvocates.com                                  Contingent
  12011 San Vincente Boulevard                                                               Tort
                                                                                                           Unliquidated                                           Unknown
  Suite 700                                                                                Claimant
                                               (310) 357-2425                                                Disputed
  Los Angeles, CA 90049

  JCCP 5108 Plf. #1240                         Michael Reck, Esq.
  John Doe SAC 2049
  c/o Jeff Anderson & Associates, PA           mreck@andersonadvocates.com                                  Contingent
                                                                                             Tort
  12011 San Vincente Boulevard                                                                             Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 700                                    (310) 357-2425                                                Disputed
  Los Angeles, CA 90049

  JCCP 5108 Plf. #1287                         Michael Reck, Esq.
  Jane Doe SAC 1185
  c/o Jeff Anderson & Associates, PA           mreck@andersonadvocates.com                                  Contingent
                                                                                             Tort
  12011 San Vincente Boulevard                                                                             Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 700                                    (310) 357-2425                                                Disputed
  Los Angeles, CA 90049

  JCCP 5108 Plf. #1313                         Michael Reck, Esq.
  Jane Doe SAC 1891
  c/o Jeff Anderson & Associates, PA           mreck@andersonadvocates.com                                  Contingent
                                                                                             Tort
  12011 San Vincente Boulevard                                                                             Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 700                                    (310) 357-2425                                                Disputed
  Los Angeles, CA 90049

  JCCP 5108 Plf. #863                          Raymond Boucher, Esq.
  John Doe G.B.M.
  c/o Boucher LLP                              ray@boucher.la                                               Contingent
                                                                                             Tort
  21600 Oxnard Street                                                                                      Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 600                                    (818) 340-5400                                                Disputed
  Woodland Hills, CA 91367

  JCCP 5108 Plf. #882                          Raymond Boucher, Esq.
  Jane Doe M.A.G.
  c/o Boucher LLP                              ray@boucher.la                                               Contingent
                                                                                             Tort
  21600 Oxnard Street                                                                                      Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 600                                    (818) 340-5400                                                Disputed
  Woodland Hills, CA 91367
  JCCP 5108 Plf. #1138                         Raymond Boucher, Esq.
  John Doe J.B.
                                                                                                            Contingent
  c/o Boucher LLP                              ray@boucher.la                                Tort
                                                                                                           Unliquidated                                           Unknown
  21600 Oxnard Street                                                                      Claimant
                                                                                                             Disputed
  Suite 600                                    (818) 340-5400
  Woodland Hills, CA 91367



  Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 2
Filed 04/01/24                                                          Case 24-21326                                                                                      Doc 1



  Debtor     The Roman Catholic Bishop of Sacramento                                                  Case number (if known)
             Name

  Name of creditor and complete mailing        Name, telephone number and email          Nature of       Indicate if claim   Amount of claim
  address, including zip code                  address of creditor contact               claim            is contingent,     If the claim is fully unsecured, fill in only
                                                                                         (for example,   unliquidated, or    unsecured claim amount. If claim is partially
                                                                                         trade debts,        disputed        secured, fill in total claim amount and
                                                                                         bank loans,                         deduction for value of collateral or setoff to
                                                                                         professional                        calculate unsecured claim.
                                                                                         services, and                       Total claim, Deduction for             Unsecured
                                                                                         government                          if partially     value of              claim
                                                                                         contracts)                          secured          collateral or
                                                                                                                                              setoff
  JCCP 5108 Plf. #231                          John C. Manly, Esq.
  Jane S.-11 Doe
  c/o Manly, Stewart & Finaldi                 jmanly@manlystewart.com                                      Contingent
                                                                                             Tort
  19100 Von Karman Avenue                                                                                  Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 800                                    (949) 252-9990                                                Disputed
  Irvine, CA 92612

  JCCP 5108 Plf. #220                          John C. Manly, Esq.
  John S-12 Doe
  c/o Manly, Stewart & Finaldi                 jmanly@manlystewart.com                                      Contingent
                                                                                             Tort
  19100 Von Karman Avenue                                                                                  Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 800                                    (949) 252-9990                                                Disputed
  Irvine, CA 92612
  JCCP 5108 Plf. #491                          Devin M. Storey, Esq.
  John MF Roe SAC
  c/o Zalkin Law Firm, P.C.                    dms@zalkin.com                                               Contingent
                                                                                             Tort
  10590 West Ocean Air Drive                                                                               Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 125                                    (858) 259-3011                                                Disputed
  San Diego, CA 92130

  JCCP 5108 Plf. #371                          Devin M. Storey, Esq.
  John TH Roe SAC
  c/o Zalkin Law Firm, P.C.                    dms@zalkin.com                                               Contingent
                                                                                             Tort
  10590 West Ocean Air Drive                                                                               Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 125                                    (858) 259-3011                                                Disputed
  San Diego, CA 92130
  JCCP 5108 Plf. #145                          Mary E. Alexander, Esq.
  John Doe DM
  c/o Mary Alexander & Associates, P.C.        malexander@maryalexanderlaw.com                              Contingent
                                                                                             Tort
  44 Montgomery Street                                                                                     Unliquidated                                           Unknown
                                                                                           Claimant
  Suite 1303                                   (415) 433-4440                                                Disputed
  San Francisco, CA 94104

  JCCP 5108 Plf. #164                          Mary E. Alexander, Esq.
  John Doe L.L.
                                                                                                            Contingent
  c/o Mary Alexander & Associates, P.C.        malexander@maryalexanderlaw.com               Tort
                                                                                                           Unliquidated                                           Unknown
  44 Montgomery Street, Suite 1303                                                         Claimant
                                                                                                             Disputed
  San Francisco, CA 94104                      (415) 433-4440




  Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 3
Filed 04/01/24                                                         Case 24-21326                                                                           Doc 1




     Fill in this information to identify the case:

     Debtor name        The Roman Catholic Bishop of Sacramento

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                    amended filing



    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
    form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
    amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
    and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                 Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.

           Executed on         04/01/2024                    X      /s/ Thomas McNamara
                                                                 Signature of individual signing on behalf of debtor

                                                                 Thomas McNamara
                                                                 Printed name

                                                                 CFO
                                                                 Position or relationship to debtor




    Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
